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 4
     Attorney for MIGUEL ZEPEDA-LOPEZ
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-417 MCE
 8
                     Plaintiff,       )
 9                                    ) STIPULATION AND
           v.                         ) ORDER TO CONTINUE MOTION TO
10                                    ) SUPPRESS EVIDENCE
     FERNANDO MURGUIA-OCHOA,          )
11
     MIGUEL ZEPEDA-LOPEZ,             )
12
     JOSE ANGUIANO,                   )
     MARIO SARRANO-ABURO, and         )
13   JOSHUA ORTEGA,                   ) Date: 9-9-10
                     Defendants.      ) Time: 9:00 a.m.
14   ================================) Judge: Hon. Morrison C. England
15
            It is hereby stipulated between the parties, Jason Hitt, Assistant United States Attorneys,
16
     Danny Brace, attorney for defendant FERNANDO MURGUIA-OCHOA, Douglas Beevers,
17

18
     attorney for defendant JOSE ANGUIANO, Thomas Johnson, attorney for defendant MARIO

19   SARRANO-ABURO, Dan Koukol, attorney for defendant JOSHUA ORTEGA and Michael Long,

20   attorney for MIGUEL ZEPEDA-LOPEZ, that the motion to suppress hearing date of July 15, 2010,
21
     should be continued until September 9, 2010. The continuance is necessary for Mr. Murguia-Ochoa
22
     to join the motion, for the government to complete its opposition brief and the three defendants who
23
     are litigating the motion to reply to the government’s opposition.
24

25          All defense briefs and joinders will be filed by August 5, 2010.          The government’s

26   opposition brief will be filed by August 19, 2010. Any defense reply briefs will be filed by August
27
     26, 2010.
28




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 1          IT IS STIPULATED that the period of time from the signing of this Order up to and
 2
     including the new motion to suppress hearing date of September 9, 2010, be excluded in computing
 3
     the time within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §
 4
     3161(h)(7)(B)(iv) and Local Code T4, for ongoing preparation of counsel and pursuant to 18 U.S.C.
 5

 6   § 3161(h)(1)(D) and Local Code E, as the motion to suppress is still pending.

 7

 8
     Dated: July 9, 2010                                  Respectfully submitted,
 9
                                                          /s/ Michael D. Long___
10                                                        MICHAEL D. LONG
                                                          Attorney for ZEPEDA-LOPEZ
11

12
     Dated: July 9, 2010                                  /s/ Dan Brace _____ .
                                                          DAN BRACE
13                                                        Attorney for MURGUIA-OCHOA
14   Dated: July 9, 2010                                  /s/ Douglas Beevers __
15
                                                          DOUGLAS BEEVERS
                                                          Attorney for ANGUIANO
16
     Dated: July 9, 2010                                  /s/ Thomas Johnson __
17                                                        THOMAS JOHNSON
18
                                                          Attorney for ORTEGA

19   Dated: July 9, 2010                                  /s/ Dan Koukol _____ .
                                                          DAN KOUKOL
20                                                        Attorney for SARRANO-ABURTO
21
     Dated: July 9, 2010                                  BENJAMIN WAGNER
22                                                        United States Attorney

23                                                        /s/ Jason Hitt____
                                                          JASON HITT
24
                                                          Assistant U.S. Attorney
25
                                                          /s/ Todd Leras____
26                                                        TODD LERAS
                                                          Assistant U.S. Attorney
27

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                             IN THE UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-417 MCE
 7                   Plaintiff,       )
                                      ) ORDER
 8
           v.                         )
 9                                    )
     FERNANDO MURGUIA-OCHOA,          )
10   MIGUEL ZEPEDA-LOPEZ,             )
     JOSE ANGUIANO,                   )
11
     MARIO SARRANO-ABURO, and         )
12
     JOSHUA ORTEGA,                   ) Date: 9-9-10
                     Defendants.      ) Time: 9:00 a.m.
13   ================================) Judge: Hon. Morrison C. England
14          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
15   motion to suppress hearing date presently set for July 15, 2010, at 9:00 a.m. be continued to
16   September 9, 2010, at 9:00 a.m. All defense briefs and joinders will be filed by August 5, 2010.
17   The government’s opposition brief will be filed by August 19, 2010. Any defense reply briefs will
18   be filed by August 26, 2010. Based on the representations of counsel and good cause appearing
19   therefrom, the Court hereby finds that the failure to grant a continuance in this case would deny
20   defense counsel reasonable time necessary for effective preparation, taking into account due
21   diligence. The continuance outweighs the best interests of the public and the defendants to a speedy
22   trial. It is ordered that time from this date to August 5, 2010, shall be excluded from computation of
23   the time within which the trial of this matter must be commenced under the Speedy Trial Act
24   pursuant to 18 U.S.C. § 3161(h)(7) (B)(iv) and Local Code T4, to allow counsel time to prepare and
25   18 U.S.C. § 3161(h)(1)(D) and Local Code E as the motion to suppress evidence is still pending.
     Dated: July 13, 2010
26

27                                             __________________________________
                                               MORRISON C. ENGLAND, JR
28                                             UNITED STATES DISTRICT JUDGE


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